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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

  TSERA, LLC,                                      §
                                                   §
         Plaintiff,                                §
                                                   §
  v.                                               §        Civil Action No. 6:09cv312-LED-JDL
                                                   §
  APPLE, INC., et al.,                             §
                                                   §                 JURY TRIAL DEMANDED
         Defendants.                               §

                                         FINAL JUDGMENT

         Pursuant to the Order dismissing the claims of all parties (Doc. No. 260), the Court hereby

  enters Final Judgment. Plaintiff Tsera, LLC (“Tsera”) filed suit against thirty-one Defendants in this

  case on July 15, 2009. Since that time, all Defendants have been dismissed: Apple Inc. (Doc. No.

  244), Auditek Corp. (Doc. No. 72), Bang & Olufsen America, Inc. (Doc. No. 246), Bang & Olufsen

  A/S (Doc. No. 124), Coby Electronics Corp. (Doc. No. 249), Cowon America, Inc. (Doc. No. 163),

  Cowon Systems, Inc. (Doc. No. 163), Dane Electronics Corp. USA (Doc. No. 250), Data Station,

  Inc. (Doc. No. 88), IMA-Hong Kong, Ltd. (Doc. No. 134), Impecca USA, Inc. (Doc. No. 127),

  iRiver, Inc. (Doc. No. 171), Koninklijike Philips Electronics N.V. (Doc. No. 216), Lasonic

  Electronics Corp. (Doc. No. 95), LG Electronics U.S.A., Inc., (Doc. No. 190), LG Electronics, Inc.

  (Doc. No. 190), LG Electronics Mobilecomm U.S.A., Inc. (Doc. No. 190), Mach Speed

  Technologies, Inc. (131), Meizu Technology Co., Ltd. (Doc. No. 128), Microsoft Corp. (Doc. No.

  258), Philips Electronics North America Corp. (Doc. No. 216), Spectra Merchandising International

  Inc. (Doc. No. 134), TrekStor GmbH & Co. KG (Doc. No. 129), Centon Electronics, Inc. (Doc. No.

  86), Creative Technology Ltd. (Doc. No. 125), Creative Labs, Inc. (Doc. No. 260), Ematic, Inc.

  (Doc. No. 126), Ice Tech USA LLC (Doc. No. 150), iRiver Ltd. (Doc. No. 171), Samsung
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  Electronics America, Inc. (Doc. No. 240), and Samsung Electronics Co., Ltd. (Doc. No. 240).

  Additionally, the Court granted Motion for Entry of Default against Defendants Centon Electronics

  Inc. (Doc. No. 86) and Data Station Inc. (Doc. No. 88) on Oct. 20, 2009.

          It is therefore ORDERED, ADJUDGED and DECREED that the parties take nothing and

  that all pending motions are DENIED AS MOOT. All costs are to be borne by the party that

  incurred them.

          It is further ORDERED, ADJUDGED and DECREED that all claims, counterclaims, and

  third-party claims in the instant suit be DISMISSED in their entirety, with prejudice as to certain

  parties.1

          The Clerk of the Court is directed to close this case.


                      So ORDERED and SIGNED this 14th day of September, 2010.




                                                 __________________________________
                                                 LEONARD DAVIS
                                                 UNITED STATES DISTRICT JUDGE




          1
            The Court notes that not all claims were dismissed with prejudice. Particularly, Apple Inc’s. (Dkt. No.
  244) and Philips’ (Dkt. No. 216) counterclaims were dismissed without prejudice. Also, the claims against TrekStor
  (Dkt. No. 129); Meizu Technology (Dkt. No. 128); Impecca USA (Dkt. No. 127); Ematic Inc. (Dkt. No. 126);
  Creative Technology Ltd. (Dkt. No. 125) and Bang & Olufsen A/S (Dkt. No. 124) were voluntarily dismissed by
  Tsera without prejudice.
